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15   Oracle International Corp.
16
                                  UNITED STATES DISTRICT COURT
17
                                       DISTRICT OF NEVADA
18

19   ORACLE USA, INC., a Colorado corporation;        Case No. 2:10-cv-0106-LRH-VCF
     ORACLE AMERICA, INC., a Delaware
20   corporation; and ORACLE INTERNATIONAL             [PROPOSED]
                                                       PERMANENTPERMANENT
                                                       PERMANENT    INJUNCTION
     CORPORATION, a California corporation,            INJUNCTION   AGAINST
                                                       AGAINST DEFENDANTS RIMINI
21                                                     DEFENDANTS RIMINI STREET,
                   Plaintiffs,                         STREET,
                                                       INC. ANDINC.
                                                                SETHAND SETH RAVIN
                                                                      RAVIN
22
            v.
23
     RIMINI STREET, INC., a Nevada corporation;
24   and SETH RAVIN, an individual,

25                 Defendants.

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                                                                 Case No. 2:10-cv-0106-LRH-VCF
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 1   I.        INJUNCTION PURSUANT TO 17 U.S.C. § 502(a)

 2             Good cause being shown, the Court permanently enjoins and restrains Defendant Rimini

 3   Street, Inc. and its subsidiaries, affiliates, employees, directors, officers, principals, and agents

 4   (collectively, “Rimini”) as follows:

 5        1.      Rimini Street, Inc. shall provide notice of this Section 502 Order to all subsidiaries,

 6                affiliates, employees, directors, officers, principals, and agents that may have any

 7                involvement whatsoever in reproducing, preparing derivative works from, or

 8                distributing PeopleSoft, JD Edwards, Siebel, or Oracle Database software or

 9                documentation.

10        2.      Rimini shall not reproduce, prepare derivative works from, or distribute PeopleSoft,

11                JD Edwards, or Siebel software or documentation in any way unless both of the

12                following conditions are met:

13                           (a)     Rimini shall not reproduce, prepare derivative works from, or

14                distribute PeopleSoft, JD Edwards, or Siebel software or documentation unless solely

15                in connection with work for a specific customer that has affirmed in writing that the

16                customer holds a valid, written license agreement for the particular PeopleSoft, JD

17                Edwards, or Siebel software and documentation authorizing Rimini’s specific

18                conduct; and

19                           (b)      Rimini shall not reproduce, prepare derivative works from, or

20                distribute PeopleSoft, JD Edwards, or Siebel software or documentation unless such

21                conduct is consistent with the remaining terms of this Order.

22                          A.       PeopleSoft

23        3.      Rimini shall not distribute PeopleSoft software or documentation or any derivative

24                works created from or with PeopleSoft software or documentation;

25        4.      Rimini shall not reproduce, prepare derivative works from, or use a specific licensee’s

26                PeopleSoft software or documentation other than to support the specific licensee’s

27                own internal data processing operations;

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 1    5.     Rimini shall not reproduce, prepare derivative works from, or use PeopleSoft

 2           software or documentation on, with, or to any computer systems other than a specific

 3           licensee’s own computer systems;

 4    6.     Rimini shall not reproduce, prepare derivative works from, or use PeopleSoft

 5           software or documentation on one licensee’s computer systems to support,

 6           troubleshoot, or perform development or testing for any other licensee, including,

 7           specifically, that Rimini shall not use a specific licensee’s PeopleSoft environment to

 8           develop or test software updates or modifications for the benefit of any other licensee;

 9                       B.     JD Edwards

10    7.     Rimini shall not distribute JD Edwards software or documentation or any derivative

11           works created from or with JD Edwards software or documentation;

12    8.     Rimini shall not reproduce, prepare derivative works from, or use a specific licensee’s

13           JD Edwards software or documentation other than on a specific licensee’s own

14           computer systems;

15    9.     Rimini shall not copy or access JD Edwards software source code;

16    10.    Rimini shall not reproduce, prepare derivative works from, or use JD Edwards

17           software or documentation on, with, or to any computer systems other than a specific

18           licensee’s own computer systems, except to create an unmodified copy of a specific

19           licensee’s software application and documentation for use by that specific licensee in

20           the event that the production copy of the licensee’s software is corrupted or lost;

21    11.    Rimini shall not reproduce, prepare derivative works from, or use JD Edwards

22           software or documentation on one licensee’s computer systems to support,

23           troubleshoot, or perform development or testing for any other licensee, including,

24           specifically, that Rimini shall not use a specific licensee’s JD Edwards environment

25           to develop or test software updates or modifications for the benefit of any other

26           licensee;

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 1                               C.     Siebel

 2         12.      Rimini shall not distribute or prepare derivative works from Siebel software or

 3                  documentation;

 4         13.      Rimini shall not copy or access Siebel software source code;

 5         14.      Rimini shall not reproduce or use Siebel software or documentation on, with, or to

 6                  any computer systems other than a specific licensee’s own computer systems, except

 7                  solely to:

 8                  a.      create an unmodified copy of a specific licensee’s software application and

 9                          documentation for the use of that specific licensee in the event that the

10                          production copy of the licensee’s software is corrupted or lost;

11                  b.      create an unmodified copy of a specific licensee’s software application and

12                          documentation for emergency back-up purposes; or,

13                  c.      create an unmodified copy of a specific licensee’s software application and

14                          documentation for disaster recovery purposes and related testing;

15         15.      Rimini shall not reproduce, prepare derivative works from, or use Siebel software or

16                  documentation on one licensee’s computer systems to support, troubleshoot, or

17                  perform development or testing for any other licensee, including, specifically, that

18                  Rimini shall not use a specific licensee’s Siebel environment to develop or test

19                  software updates or modifications for the benefit of any other licensee;

20                               D.     Oracle Database

21         16.      Rimini shall not reproduce, prepare derivative works from, or distribute Oracle

22                  Database software.

23   II.         INJUNCTION PURSUANT TO CDAFA

24               Good cause being shown, the Court permanently enjoins and restrains Defendant Seth

25   Ravin, Defendant Rimini Street, and the subsidiaries, affiliates, employees, directors, officers,

26   principals, and agents of either of them (“Rimini and Ravin”):

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 1      1.     Rimini Street, Inc. and Seth Ravin shall provide notice of this CDAFA Order to all

 2             subsidiaries, affiliates, employees, directors, officers, principals, and agents that may

 3             have any involvement whatsoever in accessing any Oracle website.

 4      2.     Rimini and Ravin shall not access (including download from) any Oracle website in

 5             any manner that could damage, disable, overburden, impair, or otherwise result in

 6             unauthorized access to or interference with, the proper functioning of any Oracle

 7             accounts, systems, or networks, including but not limited to access by or use of any

 8             automated or computerized method simulating manual downloading;

 9      3.     Rimini and Ravin shall not distribute materials downloaded from any Oracle website

10             to more than one person or entity;

11      4.     Rimini and Ravin shall not access any Oracle website using any entity’s credentials

12             for the benefit of any entity other than the entity to which the credentials were issued.

13

14           IT IS SO ORDERED.

15

16   DATED: this 11th day of October, 2016.

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18
                                                  By:
19                                                       Hon. Larry R. Hicks
                                                         United States District Judge
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                                                     4                     Case No. 2:10-cv-0106-LRH-VCF
                              [PROPOSED] PERMANENT INJUNCTION
